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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                          Plaintiffs,
          v.                                         Civil Action No. 25-0946 (CKK)

EXECUTIVE OFFICE OF THE PRESIDENT,
et al.,

                          Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                          Plaintiffs,
          v.                                         Civil Action No. 25-0952 (CKK)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                          Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                          Plaintiffs,
          v.                                         Civil Action No. 25-0955 (CKK)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                          Defendants.


                                        [PROPOSED] ORDER

       The Court hereby finds that Plaintiffs are likely to succeed on the merits of their claim that

Section 2(a) of President Trump’s March 25, 2025, Executive Order No. 14248 violates the

constitutional separation of powers; that Plaintiffs will imminently suffer irreparable harm in the




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absence of injunctive relief; and that the balance of hardships and public interest favor a

preliminary injunction. Therefore, it is hereby:

       ORDERED that Plaintiffs’ Motion for Preliminary Injunction is GRANTED; and

       ORDERED that Defendants United States Election Assistance Commission (“EAC”),

Donald L. Palmer (in his official capacity as Chairman and a Commissioner of the EAC), Thomas

Hicks (in his official capacity as Vice Chair and a Commissioner of the EAC), Christy McCormick

and Benjamin W. Hovland (in their official capacities as Commissioners of the EAC), and Brianna

Schletz (in her official capacity as Executive Director of the EAC) are preliminarily enjoined from

implementing Section 2(a) of the Executive Order.

SO ORDERED.

Dated: ________, 2025                                       ______________________________

                                                            United States District Judge




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